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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          CENTRAL DIVISION

DYLAN BRANDT, et al.,                                                 PLAINTIFFS

v.                        CASE NO. 4:21-CV-00450-JM

LESLIE RUTLEDGE, et al.,                                            DEFENDANTS

         MOTION TO COMPEL PRODUCTION OF DOCUMENTS

      Pursuant to Rule 37(a)(3)(B)(iv) of the Federal Rules of Civil Procedure,

Plaintiffs hereby move to compel Defendants to produce responsive documents from

the records of Defendant-Attorney General Leslie Rutledge.. This Motion should be

granted for the reasons detailed below, as supported by Plaintiffs’ Brief in Support:

      1. Defendants were served on October 18, 2021, with Plaintiffs’ First Set of

Requests for Production, requesting that Defendants produce “all documents and

communications concerning the Health Care Ban” and that they produce “all

documents and communications concerning gender dysphoria, gender transition,

gender transition procedures, transgender people, and medical policies and

guidelines related to the treatment of gender dysphoria.” Exhibit 1 (Plaintiffs’ First

Requests for Production).      Shortly after Defendants’ responded and voiced

objections to Plaintiffs’ discovery requests, Plaintiffs began good faith negotiations

to secure the production of relevant documents, including providing search terms to
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Defendants to utilize in identifying relevant documents within Attorney General

Rutledge’s emails. Exhibit 2 (Defendants' Responses to Plaintiffs' First Requests for

Production); Exhibit 3 (DEF0001-0008); Exhibit 4 (December 6, 2021 letter from D.

Simpson LaGoy to K. Guest). Despite three months of Plaintiffs’ extensive efforts,

Defendants have only produced 158 pages of documents, Exhibit 3 (DEF0001-

0008); Exhibit 6 (DEF009-00157), and have informed Plaintiffs that they are

withholding approximately 4,500 documents on the grounds that they are irrelevant

in this case, Exhibit 5 (January 10, 2022 email from K. Guest to D. Simpson LaGoy);

Exhibit 7 (January 21, 2022 Privilege Log); Exhibit 8 (January 21, 2022 Letter from

K. Guest to D. Simpson LaGoy); Exhibit 9 (January 31, 2022 Letter from D.

Simpson LaGoy to K. Guest); Exhibit 10 (February 1, 2022 Letter from K. Guest to

D. Simpson LaGoy).

      3.     The Court’s intervention is required to compel the production of

undoubtedly relevant documents to this case that are not subject to any valid

objection. To date, Defendants have failed to produce relevant documents from the

custodial files of the Attorney General’s Office. Defendants have not revealed the

full extent of the emails they are withholding, nor have they stated whether any of

these documents are related to the Health Care Ban. Given that Attorney General

Rutledge has made anti-trans efforts like the Health Care Ban a major part of her

agenda, it is unlikely that only a handful of emails in the Office’s possession are
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related to those efforts. Furthermore, emails about any topics involving transgender

individuals are undoubtedly relevant to Plaintiffs’ claims.

      WHEREFORE, Plaintiffs respectfully request the Court find good cause to

grant the Motion, and issue an order to compel Defendants to produce relevant

documents responsive to the Plaintiffs’ First Requests for Production, along with

attorneys’ fees and costs as the Court sees appropriate under the circumstances.

Dated: March 7th, 2022

/s/ Leslie Cooper
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